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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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                                                     Clerk, U.S. District Court, ILCD
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
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             3:16-cv-03258-HAB
3:16-cv-03258-SLD  # 8-1 Page 9 #of10
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              3:16-cv-03258-HAB
3:16-cv-03258-SLD   # 8-1 Page 10# of
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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              3:16-cv-03258-HAB
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